                                                             Apr 19, 2022

                                                               s/ JDH




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